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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:05CR00048 AWI-BAM
                                                         ((015)
12                                Plaintiff,
                                                         STIPULATION REGARDING
13              v.                                       EXCLUDABLE TIME PERIODS
     JESUS MEJIA, aka                                    UNDER SPEEDY TRIAL ACT;
14   ELIXANDRO NEVARES LOPEZ,                            FINDINGS AND ORDER
15                                Defendant.
16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for a status conference on Monday, March 24,

21 2014, at 1:00 p.m.

22          2.      By this stipulation, defendant now moves to continue the matter to Tuesday, May 27,
23
     2014, at 1:00 p.m. Plaintiff concurs with this request. Should the parties reach a resolution before
24
     May 27, the parties will move to advance the hearing date for a change of plea.
25
            3.      The parties agree and stipulate, and request that the Court find the following:
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27          a.      Counsel for defendant desires additional time to review newly obtained discovery,

28 consider the government’s recently issued plea offer, discuss the matter with his client, and conduct

29
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     further investigation.
 1
            b.      Counsel for defendant believes that failure to grant the above-requested continuance
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 3 would deny him/her the reasonable time necessary for effective preparation, taking into account the

 4 exercise of due diligence.

 5          c.      The government does not object to the continuance.
 6
            d.      Based on the above-stated findings, the ends of justice served by continuing the case
 7
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 8
     prescribed by the Speedy Trial Act.
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10          e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

11 seq., within which trial must commence, the time period of March 24, 2014, to May 27, 2014,

12 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from

13 a continuance granted by the Court at defendant’s request on the basis of the Court's finding that the

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     ends of justice served by taking such action outweigh the best interest of the public and the
15
     defendant in a speedy trial.
16
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
17

18 the Speedy Trial Act dictate that additional time periods are excludable from the period

19 within which a trial must commence.
20 IT IS SO STIPULATED.

21
     DATED:         March 13, 2014         Respectfully submitted,
22
                                           BENJAMIN B. WAGNER
23                                         United States Attorney
24
                                           /s/ Karen A. Escobar___________________
25                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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27 DATED:           March 13, 2014
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                                       /s/ Eric Fogderude _____________
 1                                     ERIC FOGDERUDE
                                       Counsel for Defendant – Jesus Mejia,
 2                                              Aka Elixandro Nevares Lopez
 3
                                             ORDER
 4

 5         IT IS SO FOUND AND ORDERED that the 3rd Status Conference is continued from March
 6 24, 2014 to May 27, 2014 at 1:00 PM before Judge McAuliffe. Time is excluded pursuant to 18

 7 U.S.C.§ 3161(h)(7)(A), B(iv).

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     IT IS SO ORDERED.
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10     Dated:    March 13, 2014                         /s/ Barbara A. McAuliffe           _
                                                  UNITED STATES MAGISTRATE JUDGE
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